CaS€ 1-18-41353-€88 DOC 1 Filed 03/12/18 Entered 03/12/18 18238:17

Fi|| in this information 10 identify your case:

Un|ted Siates Bankrupicy Court for the:

 

EASTERN DlSTRlCT OF NEW YORK

 

Case number (irknown) Chapfer 11

 

i:.l Check if this en
amended n|ing

 

 

Officia| Form 201
Vo|untary Petition for Non-lndividua|s Fi|ing for Bankruptcy 4116

 

|f more space ls needed, attach a separate sheet to this form. On the top of any additional pages, write lhe debtor‘s name and case number (lf known).
For more informationl e separate document, instructions for Bankruptcy Forms for Non-Individuais, is available

1. Debtor‘s name BENJ¥S KOSHER PlZZA & DA|RY RESTAURANT !NC. dibi'a BENJYS

 

 

2. All other names debtor
used in the last 8 years

include any assumed
names, trade names and
doing business as names

 

3. Debtor's federal
Empioyerldenllfieatlon 254305541

 

 

 

 

 

 

 

Number (EiN)
4. Debtor's address Principa| piece of business Mal|lng address, if different from principal place of
business
72-72 Maln Street
F|ushing, NY 11367
Number, Street, City. Siate a ZlP Code P.O. Box. Number. Street. Ciiy. State & Z|P Code
Queer\s Locatlon of principal assets, lf different from principal
County place of business
Number. Streei. Ciiy, Stete & Z|P Code
5. Debtor's website (URL)
6- TVP° °fd°b*°' l corporanon including leited inability company (LLC) and erited Liabiliry Partn@rship (LLP))

l'_'i Perlnership (excluding LLP)
l:] Other.Specify:

 

 

Oftlcia| Form 201 Vo|unlary Petltion for lion-individuals Fl|lng for Bankruptcy page 1

 

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never BENJYS Kosi-ien PizzA a oAlRY REsTAuRANT inc. ease numbrwknvwn)

dibi'a BENJYS

Name

7. Describe debtor's business

 

A. Check cne:
i:i Heaith Care Business (as defined tn ‘tt U.S.C. § 101(27/\))

m Sing|e Asset Reai Esiate (es defined in 11 U.S.C. § 101(518))
i:l Rai|road (as defined in 11 U.S.C.§101(44))

II Stockbroi<er {as denned in 11 U.S.C. § 101(53A))

iii commodity eroi<er (as defined in 11 u.s.c. § 101(6)}

m C|eering Bani< (as defined in 11 U.S.C. § 781(3))

- None of the above

B. Check ali that apply
i:l Tax-exempt entity (as described in 26 U.S.C. §501)
i:| investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §BOa-B)

Ei investment advisor (as deemed in 15 u.s.c. §sob-2(a)(t1))

C. NA|CS (No:th American industry Classification System) 4-digit code that best describes debtcr.
See httg:llwww.uscourts.govifour-ciig|t»nationat-assoctation-naics-codes.

 

7226
8. tinder which chapter of the Checir one:
Banitruptcy Code ls the
debtorniing? m Chapt°r 7
l] Chapter 9

l chapter 11. check sit that appiy:

|:l Debtor's aggregate ncncontingent liquidated debts (exc|uding debts owed to insiders cr aftitietes)
are less than $2,566.050 (amount subject to adjustment on 4101/19 and every 3 years after ihat).

l The debtor is a small business debtor as delined tn 11 U.S.C. § 101(5113). if the debtor is a small
business debtor, attach the most recent balance sheet. statement of operations. cash-now
statement and federal income tax return or if atl of these documents do not exist, fotiow the
procedure in 11 U.S.C. § 1116(1)(5).

A plants being ltied with this petition.

Acceptances of the plan were sotictted prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

ij The debtor is required to file periodic reports (for exampie, 10K and 1OQ) with the Securiiies and
Exchange Cornmission according to § 13 or 15(d) of the Seourities Exchange Act cf 1934. File the
attachment to Voiuntery Petiir`on for Non-individuais Fiiing for Banl¢ruptcy under Chapter 11
(Oi't`lciai Fonn 201A) with this form.

il Ti'le debtor is a shelf company as defined in the Seourities Exchahge Act cf 1934 Ruie 12b-2.

i.'.il:i

ill Chapter 12

 

9. Were prior bankruptcy
cases filed by or against
the debtor within the fast 8
years?

if more than 2 cases. attach
separate tist.

- No.
L__i Yes.

Dtstr|ct When Case number
District When Case number

 

10. Are any bankruptcy cases
pending or being filed by a
business partner cr ah
affiliate of the debtor?

List all cases ltmore than 1,
attach a separate list

i:i No
- Yes.

Debtor Eved Nisano\i' Reiationship Afflliate
D|strict EDNY When 3112[18 Case number,|fknown

 

 

Oflic|al Fcrm 201

Voluntary Petition £or dion-individuals Fii|ng for Bankruptcy page 2

 

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Case number (i'i' known)

DSbi°r BENJYS KOSHER P|ZZA & DA|RY RESTAURANT iNC.
dibla BENJYS

 

Neme

'i‘i. Why is the case filed in Check all that appiy:

this district? _ _ 1 , _ . _ ,
. Debtor has had its domicile, principal place of business, or principai assets irl this district for 180 days immediatety

preceding the date of this petition or for a longer part of such 180 days than in any other district
|:l A bankruptcy case concerning debtors aftitiate, general partner, or partnership is pending in this district

 

12. Does the debtor own or l No
have possession of any
real property or personal Cl Yes.
property that needs
immediate ettentton?

Answer below for each property that needs immediate attention Attach additional sheets lt needed

Why does the property need immediate attention? (Check ali that apply.)
l:l lt poses otis alleged to pose a threat ot imminent and identifiabte hazard to public health or safety.
Wnai is the hazard?

 

t'_'| lt needs to be physica|iy secured or protected from the weather.

l:l it includes perishable goods or assets that could quickiy deteriorate or lose value without attention (for example,
livestock, seasonai goods. meat. dairy, produce. or securities-misled assets or other options).

l:l Other

 

Where is the property?

 

Number, Streei, City, State & ZlP Code
is the property lnsured?

l:l No
[;'} Yes` insurance agency

 

Contact name

 

Phone

 

 

- statistioai and administrative information
13. Debtor's estimation of . Check one.‘
available funds , l

l Funds wiii be available for distribution to unsecured creditors

L_.l After any administrative expenses are paid. no funds will be available to unsecured creditors.

 

14. Estimated number of - 1_49
creditors m 50`99
fl 100-199
fl 200»999

|:i i,ooo-s,coo
ij 5001-10.000
lIl 10,001-25,000

iii 25,001-50.000
ill 50,001-100,000
Ei N|ore tnan100.000

 

15. EStll't`tat€d ASSOt$ l $0 _ $50!000
n $50.001 - $100,000
n $10{),001 - $500,000
l:l 3500,001 -' $1 mllllOi‘i

£1] $1,000.001 - $to million

Ei 310,000,001 - $50 militon
i'_°l $50,000,001 - $100 minton
lIi sioo,ooo.ooi - ssoo minton

l.'.i $500,000.001 ~ s1 billion

l:t $1.000.000,001 -‘ $'lU billion
n $10,000,000,001 - $50 billion
l:l More than $50 biiiion

 

16. Estimated liabilities |_'_| $g - 550_000
l:l $50.001 - $100,000
l $100,001 - $500.000
El $500,001 - s1 minton

iIi $1.000,001 - 310 million

lZ| sio,ooo.ooi - $50 million
l.'.] $50.000.001 - $100 million
lIl $100,000,001 - $500 million

m $500.000.001 - $‘l billion

m $1,000,000.001 - $10 billion
5 $10,000.000.001 - $50 billion
l:i More than $50 billion

 

Offtoiai t-“orm 201

Voluntary Petitlon for Non-individuais Fiiing for Banl<ruptcy

page 3

 

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Debtor
dlbla BENJYS

Na|'l`i B

BENJYS KOSHER PIZZA & DA|RY RESTAURANT INC.

- Request for Reiief, Deciaration, and Signatures

Case number {r'illnown)

 

wARNtNG -- Bankruptcy fraud is a serious crime. Mak|rig e false statement in connection with a bankruptcy case can resuit irl fines up to $500.000 or

imprisonmenifor up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519. and 3571.

17. Deciaration and signature

of authorized
representative of debtor

The debtor requests relief iri accordance with the chapter of title 11, United States Codel specified in this petition.

l have been authorized to file this petition on behalf of the debtor.

l have examined the information in this petition and have a reasonable belief that the information is trued and correct

| declare under penalty of perjury that tile foregoing is true and correct

/;,1 ry

MN|IDDIYYYY

Executed on

X Lr,t,w/ Nfsnm-ot/

Sign`a'ldro of authorized representative ot debtor

Tii|e Prestdent

Eved Nisanov
Printed name

 

18. Signature of attorney

Ofticial Form 201

 

Stgneture of attorney for debtor

.Lawrence F. Merrison

Printed name

Morrison Tenenbaum, PLLC
Flrm name

87 Waiker Street, Second F|oor
New York, NY 10013
Number. Street. City. State & ZlP Cocle

212-620-0938 Emeil address

Contact phone

2889590
Bar number and State

Date 7//9~/!?

MM lDD/YYYY

info@m-t-|aw.com

Voiuntary Petition for Non-individuais Fiiing for Eanitruptcy

page 4

 

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UNITED STATES BANKR.UPTCY COURT
EASTERN DISTRIC'I' OF NEW YORK

 

 

X

tit re:
Cllepter lt
BENIYS KOSl-i]?.R PIZZA AN'D DIARY
RESTAURANT }NC. dib/a BENJYS. Case No. 17~ ( )
Debtor.
X
WQE

At the meeting of the Boerd of Directors' of lienij Koahet‘ Pima and Dait‘y Rostmlrarlt
lno. (“Botljys”), s New York corporatiou, it was denominated to be tn the best interests ofBerijys
to fits for bankruptcy under Cbepter li of the Utlited Statos Banioruptcy Col'.ie land the following
resolution was adopted:

Wherees, it is in the best interest of this corporation to tile ii voluntary
petition in the Unitcd Smi:cs Bmio'uptcy Cotlri pursuant to Chaptor ti of 'I'it.ic il
ofttie United States Codc:

Bo lt newton Rosoivcd, that lived Niseoov, Ptesldent ofthis
corporation, is authorized and directed to execute and deliver sit documents
accessory to perfect the tiiing cfc chapter t t voluntary bankruptcy case ott behalf
of the corporation; md

Be ll Further Resoived, that Evcd Nisanov, Presldcnt of this corporation,
ia authorized and directedtoappear inaiibatiin‘liptcy proceedings onbehalt`oftho
corporation and to otherwise do and perform ali acts end deeds and to execute
end deliver all necessary dolmments on behalf of the corporation in connection
with such bankruptcy case; and

Bc lt Foxther Rocotved, that Ever.i Niseltov, Preeident of this corporatten,
is authorized and directed to employ lawrence F. Morrisoo, attorney and the law
arm of Mom'son Tottonbaum, PLLC to represent the corporation in such
bankruptcy case

Datcd; New Yodc sw Yorlr
Mai'cli 2018

ay ‘E“Ej /UI"F¢L¢»¢»W

Eved Nisarlev, Presidcnt

rs

 

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United States Bankruptcy Court
Euterl th'lct of Nl¢w York
111 m BE!,!V§ KMER FIZZA § MRY REBTAURAH'[ IIC. dib/a BENJYS Cm'hi¢,
Dvbwr(¢) Cv=ol¢r m

LIST OF EQU'I'I'Y $ECURITY HOLDERS
Followin¢ it tile list ortho Dehtor's equity remedy holders which ls projected in introduce with rule iOD‘!{e}{S} for Eling in this C|upier ll Cu.m

 

Name and inst known address or place of Security Class Number ofSec/orities

 

Kind ofintercst
buninoaa of hoider
owe umw oommen` men zoo squity
ms N*Ib|'l amf

R¢|lv Park. NY 11874

DECLARA’I‘ION flth ¥ENAL'I'Y OF FEBJURY ON BERALF DF CORPOBA.TION OR PARTNER$W

I, the moment ofthe corporation named as the debtor iii this case declare under penalty of mainly thall have
read the foregoing hist 11qutu Seenrity Holders and that it is true and correct to the best of my information and belief.

nm /%rcL l?, %{Z siomé¢ §§va }U/'¢FM/

md thov

Pma!o'.br HMWMMMMQIMMWM Flne china $SBU.MGorlmprieom\m\foc opm Syemorbom.
'lB U.S.C. I! iSZ md 3571.

Sheu left toward itySeoui-ity Holdera
emmmzeumloi memos-m

 

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UNITBD STATES BANKRUPTCY COURT
EASTBRN DIS'I`RICT OF NEW YORK

 

X
in ro:
Chapter il
BENIYS KOSHER I'IZZA AND DAIRY
RESTAURANT lNC. d/b/a BENJYS Case No. 17- {
Dobtor.
X

 

 

sTATE on NEW mch )

coUN'rY 01-‘ QUEENS § am

1, mo Nomwooy swore depose msay;

l. l am the Ptesidenr vamein .Koshex rizzo and Dairy Reslaumnt lnc. (“Debtor"),
and as social soo familiar with the operations, business and financial affairs of the Dei)tor. I submit
this Afi`idavit in occordm\oe with the E.D.N.Y. Loeui Bankruptcy Ruloe in support of the vohmtery
petition filed by the Debtor under Clrapter llof title ll of the United Stetes Code (“Bankruplcy
Codc”).

2. Thcro is no pending bankruptcy case against the Debtor and this petition is Eled ar
a voluntary Chapter ll proceeding _

3. The Debtor operates a pizzorie and ice cream restaurant at 72~72 Main Street,
Plushlng New York 13367. 'I'he Debtor was incorporated on May 5, 2009.

4. The Debtor is filing a voluntary petition wider Chapter ll oftho Banlsruptcy Code
due to o pending federal labor standard act action in the Eastern Disuiec of New York.

5. lhave 100% of the ownership interest as principal in the Debtor.

6. A list of the Debto:"s top twenty (20}]3,1‘5¢5: unsecured creditors was tiled.

 

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7. Currently, the estimated average monthly revenue is about $ §§ 096 .
The Debtor has “__§_~_ mployees, and the estimated average momhbr payroli is approximater
5 dGCl a month, including payroll taxes. The other expensll are as follows:
a. O£lim compenslflion: $_/_Q_i¢_?____ per monlh
v. mamie cost cist sum about s i;L, gL/O ' 15 a month
c. Estimaied Dperating oxpenses, incl. rent about $ i 31 ?'?“5 a month
8. Ali required scheduies, if not filed with the voluntary petition on the date of filing,
will be filed within fourteen (14) days ofthe date filing the Dtiblor"s voluntary pctition, which will
provide a list of the Debtor‘s asseis, secured creditors and other information required

E[N..

By; Bved Nisanov

¢FH.,€/é>

 

Swom to before mc this z day of
Mamh, 2013 lfm"'*m>|‘!‘f¢/£f¢g
NW|¥
.»"""F-F:::_:`r W di
H J §§ Mm§»'w ll
Notaq' Public '°°` (J 'F " er

mw( /¢z /,1_'{&-_.

 

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Fi|| in this information to identif the case:
Debtor name BENJYS KOSHER P|ZZA & DA|RY RESTAURANT iNC. dlbla
BENJYS
United States Bankruptcy Court for lhc.' EASTERN DlSTRECT OF NEW E Cheo§< if this Es an

YORK
Case number (if known): amended filing

 

 

 

 

Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Ciaims and
Are Not insiders 12115

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. include claims which the
debtor disputes Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). A|so, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate coi|aterat value places the creditor
among the hotders of the 20 largest unsecured claims.

 

Name of creditor and Namc, telephone number l_\_|atute`_o__fclcim` _|nd|cate if claim Amount of claim

complete malliug address, and emait address of ;?: (fo_t excmp|c,_lréde ` ls contingentl if the claim is fully unsecured, tilt in onty unsecured claim amount lf

including zip code creditor contact - . _ dchts,-bank |oans. untiqui_dated, or . claim is padially secured tilt in total ciath amount and deduction for
. . - ` - .` - 1_ professional s_o{vi_ces,_ _ - disputed vatue of collateral or setoff to calculate unsecured claim.

. _ _ Tota| claim, if Dcductlort for value Unsecured claim
conifa__cf_s)_ _:; - _ .' ` partially secured of collateral or setoff

Chase Bank-Credit Credit card Unliquidated $7,000.00
Cards purchases
Bankruptcy Dept,
PO Box 15298
Wilmington, DE
19850

Chase USA NA Unliquidated $30,000.00
Bankruptcy Dept
PO Box15298
Wilmington, DE
19850

Rogelio Aya|a Disputed $0.00
Zacarias

clo Law Offioes of
William Cafaro

108 W. 39th St, Ste.
602

New York, NY10018

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Omcia| form 204 Chaplcr 1t or Chapter 9 Cases: List of Credllors Who Have the 20 Largest Ussecured claims page 1

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Uniied States Bankruptcy Court
Euhrn mth cnwa \’ork

 
   

in m . dfb/a BENIYS Cu¢ Nq_
del(!) Ch\pi.u 13
VERIFICA'! IQH QE Q@DITOR BIATB

Thle above named debtot(s) or attorney fortbc achwr(s) hereby verify that the attachd mmi list f
creditors) is true and correct to the best nfthcir knowledge x ( o

ma mha.aois g[z\!~#{ N}'SM

ind Nlunwfhumnt

USBC»H M.Ni`ff?l

mwmsmrmm¢.uc-Mm amc-umw

 

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Chase Bank-Creciii; Carcis
Bankruptcy Dept.

PO Box 15298
Wilmington, DE 19850

Chase USA NA
Bani<ruptc:y Dept

PO B0x15298
Wilmington, DE 19850

Rogelio Ayala Zacarias
c/o Law Offices of
William Cafaro

108 W. 39th St, Ste. 602
New York, NY 10018

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DIS'I`RIC'I` OF NEW YORK

STATEMENT PURSUANT "ro LoCAL
BANKRUPTCY RULE 1073-203

BENJYS KOSHER P|ZZA & DA|RY RESTAURANT
DEBTOR(S): |Nc_ dib/a BENJYS CASE NO.:.

 

Pursuant to Locai Bankruptcy Rule 1073-2(b), the debtor for any other petitioned hereby makes the following disclosure
concerning Reiated Cases, to the petitioner's best knowledge, information and beliefs

{NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y, LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) arc affiliates as destined in ll U.S.C. § 101(2); {iv) are general partners in the same partnership; (v) are a
partnership and one or more of its generai partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases hsd, an interest in property that was or is included in the

property of another estate under ll U.S.C. § 54I(a).]
i:l NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIM'E.

l THE FoLLoWING'RELATsD cAsE(s) rs PENDING 011 nAs seen PENDING:

l. CASE NO.: JUDGE: DISTRICT/DIVISION: EDNY

DEBTOR NAME: Eved leanov

CASE STILL PENDING (YIN): Y {D”closed] Date of ciosing:_____
CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting diseharge, con§nned, dismissed, etc.)

MANNER IN WHtCl-l CASES ARE RELATED (Refer to NOTE above): Affiliate

REAL PROPERTY LISTED iN DEBTOR'S SCHEDULE "A" ("REAL PROPER'I`Y") WI-IICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE: m_

2. CASE NO.:____ JUDGE:_ DISTRICT/DIVISION:W

CASE STILL PENDTNG (Y/N“):__ [[fclosed] Date of closingzw

CURREN'I` STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge confirmed dismissed etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" (“REAL PROPERTY") WHICH WAS ALSO LfSTED IN
SCHEDUL.E "A" OF RELATED CASE:

3. CASE NO.: JUDGE: DlSTRiCT/DIVIS]ON:
CASE STILL PENDING (YIN): [Ifclosed] Date of ciosing:
(OVER)

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DISCLOSURE OF RELATED CASES (cont'd)
CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, contirmcd, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer 10 NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE “A" ("REAL PROPERTY“) WHICH WAS ALSO LISTED iN
SCHEDULE "A" OF RELATED CASE:

NOTE: Pu.rsuant to il U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors Such an individual will be required to tile a statement in support of his/her eligibility to fiIe.

'I`O BE COMPLETED BY DEBTOR/PETETIONBR'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District ofNew York (Y/N): Y

CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioners attorney, as applicable):

t certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any tirne, except
as indicated elsewhere on this fonn.

\r¢/__,/

Lawrence F. Morrison

Signature of Debtor's Attomey Signature of Pro Se Debtor/Petitioner
Morrison Tenenbaum, PLLC
87 Watker Street, Second Fioor
New York, NY 10013
212'62°'°938 Faxi“e'”°'mgs Signature of Pro Se Joint Debtor/Petitioner

 

 

 

Mailing Address ofDebter/Petitioner

 

City, State, Zip Code

 

Area Code and Telephone Number
Fsilure to fully and truthfully provide atl information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment cfa trustee or the

dismissal of the case with prejudice

NOTE: Any change in address must be reported to the Court immediately iN WRl'I`ING. Dismissal of your petition may otherwise
resuit.

USBC- i 7 Rev.B/l 11'2[)09

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UN|TED STATES BANKRUPTCY COURT
EASTERN D|STR|CT OF NEW YORK

 

 

X Chapter 11
|N RE; BENJYS KosHER PlzzA a DAlRY
RESTAURANr lNc. dibia BENJ¥s ease No.:
Debtor(s) STATEIV!ENT PURSUANT TO LOCAL RUi_E 2017
X

 

|, strenee F. Morrison, an attorney admitted to practice in this Couri, state:
1. That | am the attorney for the above-named debtor(s) and am fully famiiiar with the facts herein

2. That prior to the filing of the petition herein, my firm rendered the following services to the
above-named debter(s):

Date\Time Services

|nitia| interview, analysis offinanciat
March s, 2016 condition, etc.

Preparation and review of
March 11, 2018 Bankruptcy petition

3. That my firm will aiso represent the debtor(s) at the tirst meeting of creditors
4. That ali services rendered prior to the fiiing of the petition herein were rendered by my tirm.

5. That my usual rate of compensation of bankruptcy matters of this type is $ 551$` .

Lawrence F. Morrison
Attorney for debtor(s)
Morrison Tenenbaum, PLLC

87 Wa|ker Street, Seconcf Ffoor
New York, NY 10013

Dated;

 

212-620-0933 Fax:646-390-5095
info@m -t-law.com

Sonare Copyrlght (c) 1996-2011 Besi Case, LLC - m.besicase.corn Best Case bankruptcy

 

